       Case 1:19-cv-02367-ABJ Document 108 Filed 03/24/23 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                            )
PETER P. STRZOK,                            )
                                            )
                Plaintiff,                  )
                                           )    Civil Action No. 19-2367 (ABJ)
        v.                                  )
                                            )
ATTORNEY GENERAL MERRICK B.                 )
GARLAND, in his official capacity, et al.,  )
                                            )
                Defendants.                 )
                                            )
                                            )
                                            )
LISA PAGE,                                  )
                                            )
                Plaintiff,                  )
                                            )   Civil Action No. 19-3675 (TSC)
        v.                                  )
                                            )
U.S. DEPARTMENT OF JUSTICE, et al.,         )
                                            )
                Defendants.                 )
                                            )
                                           )
                                           )
ATTORNEY GENERAL MERRICK                   )
GARLAND, in his official capacity; UNITED  )
STATES DEPARTMENT OF JUSTICE, FBI          )
DIRECTOR CHRISTOPHER A. WRAY, in his )
official capacity; and FEDERAL BUREAU OF )
INVESTIGATION,                             )
                                           )
                            Movants,       )
                        v.                 )      Case No.: 1:22-mc-27 (ABJ)
                                           )
PETER P. STRZOK                            )
                                           )
IN RE SUBPOENA SERVED ON                   )
DONALD J. TRUMP                            )
                                           )
           Case 1:19-cv-02367-ABJ Document 108 Filed 03/24/23 Page 2 of 3




            DEFENDANTS’ NOTICE REGARDING EXECUTIVE PRIVILEGE

       Defendants submit this notice pursuant to the Court’s February 23, 2023 Minute Order, in

which the Court authorized depositions of FBI Director Christopher Wray and former President

Donald Trump to proceed, subject to limitations as to scope and duration. The Executive Office of

the President will not assert the Presidential Communications Privilege, and Defendants will not

assert the Deliberative Process Privilege, with respect to the authorized topics. This notice is

limited to the deposition topics authorized by the Court during the February 23, 2023 hearing, and

Defendants reserve all rights with respect to privilege assertions as to all other topics during the

remainder of discovery and at any trial.1

       As part of Defendants’ review of the authorized topics, counsel for Defendants made a

representative of former President Trump aware of the Court’s Minute Order. Former President

Trump has not requested an assertion of privilege over any of the information within the scope of

the authorized depositions.



Dated: March 24, 2023                                Respectfully submitted,

                                                     BRIAN D. NETTER
                                                     Deputy Assistant Attorney General

                                                     MARCIA BERMAN
                                                     Assistant Branch Director

                                                     CHRISTOPHER R. HALL
                                                     Assistant Branch Director

                                                     /s/ Bradley P. Humphreys
                                                     BRADLEY P. HUMPHREYS
                                                     (D.C. Bar 988057)

       1
         Defendants expressly reserve their rights to seek further review of this Court’s February
23, 2023 decision regarding Defendants’ motion to quash Mr. Strzok’s subpoena for the deposition
of former President Trump, including, if appropriate, through mandamus relief. Nothing in this
notice should be construed as a waiver or forfeiture of those rights.
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Case 1:19-cv-02367-ABJ Document 108 Filed 03/24/23 Page 3 of 3




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